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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF VIRGINIA
                                  ALEXANDRIA DIVISION

    UNITED STATES, et al.,

                          Plaintiffs,

          vs.                                                 No: 1:23-cv-00108-LMB-JFA

    GOOGLE LLC,

                          Defendant.


                DEFENDANT GOOGLE LLC’S NOTICE OF MOTION TO SEAL

         PLEASE TAKE NOTICE that Defendant Google LLC (“Google) filed a motion to seal

  portions of its Proposed Findings of Fact and Conclusions of Law.

         Pursuant to Local Civil Rule 5, parties and non-parties may submit memoranda in support

  of or in opposition to the motion within seven (7) days after the filing of the motion to seal. If no

  objection is filed in a timely manner, the Court may treat the motion as uncontested.




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   Dated: August 19, 2024               Respectfully submitted,


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